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                                                              UNITED STATES BANKRUPTCY COURT
                                                              NORTHERN DISTRICT OF CALIFORNIA
                             15
                                                                   SAN FRANCISCO DIVISION
                             16
                                                                                    Case No. 19-30088 (DM)
                             17
                                   In re:                                           Chapter 11
                             18
                                   PG&E CORPORATION,                                (Lead Case)
                             19
                                            - and -                                 (Jointly Administered)
                             20
                                   PACIFIC GAS AND ELECTRIC                         NOTICE OF FILING OF DRAFT OF
                             21    COMPANY,                                         DEBTORS’ AND SHAREHOLDER
                                                                                    PROPONENTS’ JOINT CHAPTER 11
                             22                                   Debtors.          PLAN OF REORGANIZATION DATED
                                                                                    JUNE 3, 2020
                             23     Affects PG&E Corporation
                                    Affects Pacific Gas and Electric Company       [Relates to Dkt. Nos. 3841, 3966, 4563, 5101,
                             24     Affects both Debtors                           5590, 5700, 6217, 6320, 7521]
                             25    * All papers shall be filed in the Lead Case,
                                   No. 19-30088 (DM).
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                              Case: 19-30088          Doc# 7736   Filed: 06/03/20   Entered: 06/03/20 09:49:46     Page 1 of
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                                          PLEASE TAKE NOTICE that, on September 9, 2019, PG&E Corporation and Pacific Gas and
                              1   Electric Company, as debtors and debtors in possession (collectively, the “Debtors”) in the above-
                              2   captioned chapter 11 cases, filed the Debtors’ Joint Chapter 11 Plan of Reorganization [Dkt. No. 3841],
                                  which was thereafter amended, modified, or supplemented on September 23, 2019 and November 4,
                              3   2019 [Dkt. Nos. 3966 and 4563, respectively].

                              4   PLEASE TAKE FURTHER NOTICE that, on December 12, 2019, the Debtors filed the Debtors’
                                  and Shareholder Proponents’ Joint Chapter 11 Plan of Reorganization Dated December 12, 2019
                              5
                                  [Dkt. No. 5101] , which was thereafter amended, modified, or supplemented on January 31, 2020,
                              6   February 7, 2020, March 9, 2020, and March 16, 2020 [Dkt. Nos. 5590, 5700, 6217 and 6320,
                                  respectively] (and as may be further amended, modified, or supplemented and together
                              7   with all exhibits and schedules thereto, the “Plan”).

                              8          PLEASE TAKE FURTHER NOTICE that, on May 22, 2020, the Debtors filed the Debtors’
                                  and Shareholder Proponents’ Joint Chapter 11 Plan of Reorganization Dated May 22, 2020 [Dkt.
                              9
                                  No. 7521] (the “May 22 Plan”).
                             10
                                          PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a DRAFT of the
                             11   Debtors’ and Shareholder Proponents’ Joint Chapter 11 Plan of Reorganization Dated June 3, 2020
                                  (the “Draft June 3 Plan”) prepared for the purposes of discussion at the hearing to consider confirmation
                             12   of the Plan. The Plan Proponents reserve all rights to further amend, modify or supplement the Draft
                                  June 3 Plan. Attached hereto as Exhibit B is a redline reflecting changes between the May 22 Plan and
Weil, Gotshal & Manges LLP




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 New York, NY 10153-0119




                                  the Draft June 3 Plan.
                             14
      767 Fifth Avenue




                                          PLEASE TAKE FURTHER NOTICE that copies of the pleadings and other documents
                             15   identified herein can be viewed and/or obtained: (i) by accessing the Bankruptcy Court’s website at
                                  http://www.canb.uscourts.gov, (ii) by contacting the Office of the Clerk of the Court at 450 Golden Gate
                             16   Avenue, San Francisco, CA 94102, or (iii) from the Debtors’ notice and claims agent, Prime Clerk LLC,
                             17   at https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for U.S.-based
                                  parties; or +1 (929) 333-8977 for International parties or by e-mail at: pgeinfo@primeclerk.com. Note
                             18   that a PACER password is needed to access documents on the Bankruptcy Court’s website.

                             19
                                  Dated: June 3, 2020
                             20                                         WEIL, GOTSHAL & MANGES LLP
                                                                        KELLER BENVENUTTI KIM LLP
                             21

                             22                                         /s/ Thomas B. Rupp
                                                                        Thomas B. Rupp
                             23
                                                                        Attorneys for Debtors and Debtors in Possession
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